       Case 3:07-cr-00568-SMR-SBJ Document 199 Filed 12/18/07 Page 1 of 1
                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                    )
                                                                                        RECEIVED
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                      Plaintiff,             )                                       CLERK u C'
                                             )                                       BoWHf!:;il;., OtsTR/crca
                                                                                             .. ASTRH]T n,.~!
vs.                                          )       Case No. 3:07- cr-56S                              vr ovw"
                                             )
                                             )
ANTHONY LAWRENCE DILLARD,                    )
                                             )
                      Defendant.             )

      REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The defendant

entered a plea of guilty to Count(jj) _---'-/_ _ of the Indictment/InformMltm. After cautioning

and examining the defendant under oath concerning each of the subjects mentioned in Rule 11, I
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                                                                          I ~~\i

determined that the guilty plea(.) was/wese knowing and voluntary as to e~h count, and that the

offenses(.) charged is~upported by an independent factual basis concerning each of the

essential elements of such offense(~). I, therefore, recommend that the plea(t) of guilty be

accepted, that a pre-sentence investigation and report be prepared, and that the defendant be

adjudged guilty and have sentence imposed accordingly.




Date                                              THOMAS . SHIELDS
                                                  UNITED SATES MAGISTRATE JUDGE


                                             NOTICE

       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.c. 636(b)(l)(B).
